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                     UNITED STATES DISTRICT COURT FOR
                        THE DISTRICT OF MARYLAND
                           GRE E NB E L T DIVISION



   COUNTY OF SOMERSET,                    §
   MARYLAND                               §
                                          §
        Plaintiff,                        §
                                          §
   v.                                     §
                                          §
   CEPHALON, INC.;                        §
   TEVA PHARMACEUTICAL                    §
   INDUSTRIES, LTD;                       §
   TEVA PHARMACEUTICALS USA,              §
   INC.;                                  §
   JANSSEN PHARMACEUTICALS,               §
   INC.;                                  §
   JOHNSON & JOHNSON;                     §
   ORTHO-MCNEIL-JANSSEN                   §
   PHARMACEUTICALS, INC. n/k/a            §       Civil Action No.:
   JANSSEN PHARMACEUTICALS,               §       8:19-cv-02763
   INC.;                                  §
   JANSSEN PHARMACEUTICA,                 §       COMPLAINT AND JURY
   INC. n/k/a JANSSEN                     §       DEMAND
   PHARMACEUTICALS, INC.;                 §
   ENDO HEALTH SOLUTIONS,                 §
   INC.;                                  §
   ENDO PHARMACEUTICALS,                  §
   INC.;                                  §
   ABBOTT LABORATORIES;                   §
   KNOLL PHARMACEUTICAL                   §
   COMPANY;                               §
   ALLERGAN PLC f/k/a ACTAVIS             §
   PLC;                                   §
   ALLERGAN FINANCE LLC f/k/a             §
   ACTAVIS, INC. f/k/a WATSON             §
   PHARMACEUTICALS, INC.;                 §
   ALLERGAN SALES LLC;                    §
   ALLERGAN USA INC.;                     §
   WATSON LABORATORIES, INC.;             §
   WATSON PHARMA, INC.;                   §
   ACTAVIS LLC;                           §
                                          §

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   ACTAVIS PHARMA, INC., f/k/a                   §
   ACTAVIS, INC.;                                §
   MALLINCKRODT PLC;                             §
   MALLINCKRODT, LLC;                            §
   COVIDIEN PLC;                                 §
   MALLINCKRODT BRAND                            §
   PHARMACEUTICALS;                              §
   SPECGX, LLC;                                  §
   ABBVIE, INC.;                                 §
   KNOLL PHARMACEUTICAL                          §
   COMPANY;                                      §
   MCKESSON CORPORATION;                         §
   MCKESSON MEDICAL                              §
   SURGICAL INC.;                                §
   CARDINAL HEALTH, INC.;                        §
   CARDINAL HEALTH 110 LLC;                      §
   CARDINAL HEALTH 200 LLC;                      §
   CARDINAL HEALTH 414 LLC;                      §
   AMERISOURCE BERGEN DRUG                       §
   CORPORATION;                                  §
   CVS HEALTH;                                   §
   WALGREENS BOOTS ALLIANCE,                     §
   INC., a/k/a WALGREEN CO.;                     §
   WAL-MART STORES, INC.;                        §
   RITE AID CORPORATION;                         §
   THE KROGER COMPANY;                           §
   AND DOES 1 THROUGH 100                        §
   INCLUSIVE.                                    §
                                                 §
                                                 §
   Defendants.                                   §
                                                 §
                                                 §
                                                 §
                                                 §



                          PLAINTIFF’S ORIGINAL PETITION

       Plaintiff, the County of Somerset, Maryland (the “County”), by and through the

undersigned attorneys, against Defendants, Cephalon, Inc., Teva Pharmaceutical Industries, LTD,

Teva Pharmaceuticals USA, Inc., Teva Pharmaceuticals, Inc., Janssen Pharmaceuticals, Inc.,



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Johnson & Johnson, Ortho-McNeil-Janssen Pharmaceuticals, Inc., n/k/a Janssen Pharmaceuticals,

Inc., Janssen Pharmaceutica, Inc., n/k/a Janssen Pharmaceuticals, Inc., Endo Health Solutions Inc.,

Endo Pharmaceuticals, Inc., Abbott Laboratories, Knoll Pharmaceutical Company, Allergan PLC,

f/k/a Actavis PLC, Allergan Finance, LLC f/k/a Actavis, Inc. f/k/a Watson Pharmaceuticals, Inc.,

Allergan Sales LLC, Allergan USA Inc., Watson Laboratories, Inc., Watson Pharma, Inc., Actavis

LLC, Actavis Pharma, Inc. f/k/a Actavis, Inc., McKesson Corporation, McKesson Medical

Surgical Inc., Cardinal Health, Inc., Cardinal Health 110 LLC, Cardinal Health 200 LLC, Cardinal

Health 414 LLC, AmerisourceBergen Drug Corporation, Mallinckrodt, PLC, Mallinckrodt, LLC,

Covidien PLC, Mallinckrodt Brand Pharmaceuticals, SpecGX LLC, Abbvie, Inc., Knoll

Pharmaceutical Company, CVS Health, Walgreens Boot Alliance, Inc. a/k/a Walgreen Co., Wal-

Mart Stores, Inc., Rite Aid Corporation, the Kroger Company, and Does 1 – 100, alleges as

follows:


                                 VENUE AND JURISDICTION

       1.        Venue is proper in the United States District Court for the District of Maryland

because all or a substantial part of the events or omissions giving rise to this claim occurred in the

District of Maryland. See 28 U.S.C. § 1391.

       2.        Federal subject matter jurisdiction is based upon 28 U.S.C. § 1331.

       3.        This Court has specific jurisdiction over all Defendants as their activities were

directed toward Maryland and injuries complained of resulted from their activities. Each

Defendant has a substantial connection with Maryland and the requisite minimum contacts with

Maryland necessary to constitutionally permit the Court to exercise jurisdiction.

                                              PARTIES

       4.        Plaintiff brings this action for and on behalf of the County, which provides a wide

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range of services on behalf of its residents, including, but not limited to, services for families and

children, public health, public assistance, law enforcement, and social services, as well as medical

and prescription benefits that the County provides to its employees and retirees.

                                    CORPORATE DEFENDANTS

       5.       CEPHALON, INC. ("Cephalon.") is a Delaware corporation with its principal place

of business in Frazer, Pennsylvania. In 2011, Teva Ltd. acquired Cephalon. TEVA

PHARMACEUTICAL INDUSTRIES, LTD ("Teva, Ltd.") is an Israeli company with its corporate

headquarters in Petah Tikva, Israel. TEVA PHARMACEUTICALS USA, INC. ("Teva USA") is

a wholly-owned subsidiary of Teva Ltd. and is a Delaware corporation with its principal place of

business in Pennsylvania. Teva USA acquired Cephalon in October 2011. Teva, Ltd., Teva USA,

and Cephalon, Inc. (collectively "Cephalon") work together closely to market and sell Cephalon

products in the State of Maryland. Teva conducts all sales and marketing activities for Cephalon

in the State of Maryland through Teva USA and has done so since it's October 2011 acquisition of

Cephalon.

       6.       Cephalon manufactures, promotes, sells, and/or distributes opioids nationally and

in The County, including Actiq and Fentor, for which Cephalon is identified as the drug sponsor

and Teva USA is identified as the distributor.

       7.       Cephalon is engaging in business in the State of Maryland and may be served

through its registered agent for service of process, Corporate Creations Network Inc., 2 Wisconsin

Circle, #700, Chevy Chase, Maryland 20815.

       8.       JANSSEN PHARMACEUTICALS, INC. ("Janssen") is a Pennsylvania

corporation with its principal place of business in Titusville, New Jersey and is a wholly-owned

subsidiary of JOHNSON & JOHNSON (J&J), a New Jersey corporation with its principal place



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of    business      in   New      Brunswick,     New      Jersey.    ORTHO-MCNEIL-JANSSEN

PHARMACEUTICALS, INC., now known as JANSSEN PHARMACEUTICALS, INC., is a

Pennsylvania corporation with its principal place of business in Titusville, New Jersey. JANSSEN

PHARMACEUTICA, INC., now known as JANSSEN PHARMACEUTICALS, INC., is a

Pennsylvania corporation with its principal place of business in Titusville, New Jersey. J&J is the

only company that owns more than 10% of Janssen Pharmaceuticals' stock and corresponds with

the FDA regarding Janssen's products. Upon information and belief: J&J controls the sale and

development of Janssen Pharmaceuticals' drugs and Janssen's profits inure to J&J's benefit.

(collectively "Janssen").

       9.        Janssen manufactures, promotes, sells, and/or distributes opioids nationally and in

The County, including Duragesic, Nucynta and Nucynta ER. These opioid drugs are sold both

directly by Janssen and by third party drug distributors. Janssen is engaging in business in the State

of Maryland and may be served through its registered agent for service of process, Attention: Legal

Department, One Johnson & Johnson Plaza, New Brunswick, NJ 08933.

       10.       ENDO HEALTH SOLUTIONS, INC. is a Delaware corporation with its principal

place of business in Malvern, Pennsylvania. ENDO PHARMACEUTICALS, INC. is a wholly-

owned subsidiary of ENDO HEALTH SOLUTIONS INC. and is a Delaware corporation with its

principal place of business in Malvern, Pennsylvania (collectively "Endo.'').

       11.       Endo manufactures, promotes, sells, and/or distributes opioids nationally and in

The County, including Opana and Opana ER. Opana ER is reported to have been prescribed up to

50,000 times per day. However, June 8, 2017, the U.S. Food and Drug Administration requested

that Endo remove Opana ER from the market based on FDA's concern that the benefits of the drug

may no longer outweigh its risks. Endo is engaging in business in the State of Maryland and may



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be served through its registered agent for service of process, The Corporation Trust Incorporated,

300 E. Lombard Street, Baltimore, Maryland 21202.

       12.     ABBOTT LABORATORIES is an Illinois corporation with its principal place of

business in Abbott Park, Illinois. KNOLL PHARMACEUTICAL COMPANY is a wholly-owned

subsidiary of Abbott Laboratories and is a New Jersey corporation with its principal place of

business in Parsippany, New Jersey (collectively "Abbott").

       13.     Abbott currently and/or historically manufactures, promotes, sells, and/or

distributes opioids nationally and in the County, including Vicoprofen and Dilaudid. Abbott

Laboratories can be served by serving its registered agent as follows: The Corporation Trust

Incorporated, 351 West Camden Street, Baltimore, Maryland 21201.

       14.     ALLERGAN PLC f/k/a ACTAVIS PLC is a public limited company incorporated

in Ireland with its principal place of business in Dublin Ireland. ACTAVIS PLC acquired

ALLERGAN PLC in March 2015, and the combined company changed its name to Allergan PLC

in January 2013. Before that, WATSON PHARMACEUTICALS, INC. acquired ACTAVIS, INC.

in October 2012, and the combined company changed its name to ALLERGAN FINANCE, LLC

as of October 2013. Allergan Finance, LLC is a Nevada Corporation with its principal place of

business in Parsippany, New Jersey, and may be served through its registered agent for service of

process, Corporate Creations Network, Inc., 2 Wisconsin Circle, #700, Chevy Chase, Maryland

20815. WATSON LABORATORIES, INC. is a Nevada corporation with its principal place of

business in Corona, California, and is a wholly-owned subsidiary of Allergan plc (f/k/a Actavis,

Inc., f/k/a Watson Pharmaceuticals, Inc.), and may be served through its registered agent for

service of process, Corporate Creations Network, Inc., 8275 South Eastern Ave., #200, Las Vegas,

NV 89123. ACTAVIS PHARMA, INC. (f/k/a Actavis, Inc.) is a Delaware corporation with its



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principal place of business in New Jersey and was formerly known as WATSON PHARMA.

ACTAVIS LLC is a Delaware limited liability company with its principal place of business in

Parsippany, New Jersey, and may be served through its registered agent for service of process, The

Corporation Trust Company, Corporation Trust Center, 1209 Orange Street, Wilmington,

Delaware 19801. Each of these Defendants is owned by Allergan PLC, which uses them to market

and sell its drugs in Maryland. Upon information and belief, Allergan PLC exercised control over

these marketing and sales efforts and profits from the sale of Allergan/Actavis products ultimately

inure to its benefit (collectively ''Actavis.'').

        15.     Actavis manufactures, promotes, sells, and/or distributes opioids nationally and in

the County,       including    generic Oxycontin    (oxycodone    hydrochloride) and      Dilaudid

(hydromorphone hydrochloride). ALLERGAN SALES is identified as the sponsor and/or entity

responsible for the manufacture and/or distribution of the opioid medication Fiorinal with codeine

(FDA NDA # 019429). Actavis acquired the rights to another opioid, Kadian (morphine sulfate,

NDA # 020616), from King Pharmaceuticals, Inc. on December 30, 2008, and began marketing

Kadian in 2009.

        16.     Actavis has elected to do business in the State of Maryland under a license as a

domestic drug manufacturer and/or distributor. Actavis can be served through its resident agent at

Corporate Creations Network Inc., #700, 2 Wisconsin Circle, Chevy Chase, Maryland 20815.

        17.     Plaintiff alleges that Allergan Sales LLC and Allergan USA Inc. are domiciled in

the State of Delaware and are proper parties who may be sued under their assumed or common

names for enforcing for or against it a substantive right. Allergan Sales LLC and Allergan USA

Inc. may be served at the above addresses.

        18.     MALLINCKRODT PLC (“Mallinckrodt”) is an Irish public limited company with



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its corporate headquarters in Staines-Upon-Thames, Surrey, United Kingdom and maintains a U.S.

headquarters in St. Louis, Missouri. MALLINCKRODT, LLC is a limited liability company

organized and existing under the laws of the State of Delaware with its principal place of business

in St. Louis, Missouri. Since June 28, 2013, it has been a wholly owned subsidiary of Mallinckrodt,

PLC. Prior to June 28, 2013 Mallinckrodt, LLC, was a wholly-owned subsidiary of COVIDIEN

PLC. MALLINCKRODT BRAND PHARMACEUTICALS is a Delaware Corporation which is

wholly owned by Mallinckrodt PLC. Defendant SPECGX, LLC, is a Delaware limited liability

company with its headquarters in Clayton, Missouri and is a wholly-owned subsidiary of

Mallinckrodt PLC. SpecGX currently manufactures and sells certain opioids which were

previously manufactured by Mallinckrodt, LLC Mallinckrodt, PLC, Mallinckrodt, LLC,

Mallinckrodt Brand Pharmaceuticals, and SpecGx, LLC, are referred to as “Mallinckrodt.”

Mallinckrodt distributes pharmaceuticals to retail pharmacies and institutional providers across the

United States, including Maryland and the County. The drugs distributed by Mallinckrodt include

powerful, addictive opioids, such as oxycodone and hydrocodone. Mallinckrodt can be served via

its resident agent at The Corporation Trust Incorporated, 32 South Street, Baltimore, Maryland

21202.

         19.   ABBVIE, INC. (“Abbvie”) is a Delaware corporation with its principal place of

business in North Chicago, Illinois, and may be served through its registered agent for service of

process, Corporate Creations Network, Inc., #700, 2 Wisconsin Circle, Chevy Chase, Maryland

20815. KNOLL PHARMACEUTICAL COMPANY (“Knoll”) has been a wholly-owned

subsidiary of Abbvie from January 1, 2013. Knoll is a Delaware corporation with its principal

place of business in Parsippany, New Jersey, and may be served through its registered agent

for service of process, Corporate Creations Network, Inc., #700, 2 Wisconsin Circle, Chevy



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Chase, Maryland 20815.

       20.     Knoll irresponsibly marketed narcotics, such as Vicodin, through toys and

souvenirs and did so to boost the sales of opioids. Taking advantage of the fact that Vicodin was

not regulated as a Schedule II controlled substance for many years, and the fact that physicians

and consumers did not fully appreciate the highly addictive nature of Vicodin, Knoll advertised

Vicodin with tag lines such as “The Highest Potency Pain Relief You Can Still Phone In.” This

tag line came as part and parcel of souvenirs like a “Vicodin” fanny pack and water bottle, both

bearing the name of Vicodin, the opioid Knoll was promoting. This irresponsible marketing of a

narcotic drug caused doctors and patients to believe Vicodin was safer than it really was, to the

detriment of people in the County. Abbvie began manufacturing, developing, promoting,

marketing, and selling the opioid drug, Vicodin, in the U.S. and its opioid business impacts the

County. On information and belief, it continues to do so at the time of filing this pleading.

       21.     The foregoing defendants are referenced in this petition as the “Manufacturing

Defendants.”

       22.     MCKESSON CORPORATION ("McKesson") is a Delaware corporation with its

principal place of business in Dallas, Texas. McKesson distributes pharmaceuticals to retail

pharmacies and institutional providers across the United States, including Maryland and the

County. The drugs distributed by McKesson include powerful, addictive opioids, such as

oxycodone and hydrocodone.

       23.     McKesson is engaging in business in the State of Maryland and may be served

through its registered agent for service of process, CSC-Lawyers Incorporating Service Company,

7 Saint Paul Street, Suite 820, Baltimore, Maryland 21202.

       24.     Plaintiff alleges that McKesson Corporation and MCKESSON MEDICAL-



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SURGICAL INC. are domiciled in the State of Delaware and are proper parties who may be sued

under their assumed common name for enforcing for or against it a substantive right. McKesson

Corporation and McKesson Medical-Surgical Inc. may be served at the above addresses.

       25.     CARDINAL HEALTH, INC. (''Cardinal") is an Ohio Corporation with its principal

place of business in Dublin, Ohio. Cardinal distributes pharmaceuticals to retail pharmacies and

institutional providers across the United States, including Maryland and the County. The drugs

distributed by Cardinal include powerful, addictive opioids, such as oxycodone and hydrocodone.

       26.     Cardinal is engaging in business in the State of Maryland and may be served

through its registered agent for service of process, The Corporation Trust, Inc., 2405 York Road,

Suite 201, Lutherville Timonium, Maryland 21093.

       27.     Plaintiff alleges that CARDINAL HEALTH 110 LLC, CARDINAL HEALTH 200

LLC AND CARDINAL HEALTH 414 LLC are domiciled in the State of Maryland and are proper

parties who may be sued under their assumed or common name for enforcing for or against it a

substantive right. Cardinal Health 110 LLC, Cardinal Health 200 LLC and Cardinal Health 414

LLC, may be served at the above addresses.

       28.     AMERISOURCEBERGEN DRUG CORPORATION (''Amerisource”) is a

Delaware Corporation with its principal place of business in Chesterbrook, Pennsylvania.

Amerisource distributes pharmaceuticals to retail pharmacies and institutional providers across the

United States, including Maryland and the County. The drugs distributed by Amerisource include

powerful, addictive opioids, such as oxycodone and hydrocodone.

       29.     Amerisource is engaging in business in the State of Maryland and may be served

through its registered agent for service of process, The Corporation Trust, Inc., 2405 Work Road,

Suite 201, Lutherville Timonium, Maryland 21093.



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       30.       Plaintiff alleges that Amerisource is domiciled in the State of Delaware and is a

proper party who may be sued under its assumed or common name for enforcing for or against it

a substantive right. Amerisource may be served at the above address.

       31.       CVS HEALTH (“CVS”) is a Delaware corporation with its principal place of

business in Rhode Island. CVS may be served through its resident agent at The Corporation Trust,

Inc., 2405 York Road, Suite 201, Lutherville Timonium, Maryland 21093. During all relevant

times, CVS Health has sold and continues to sell prescription opioids in and in close proximity

to the County.

       32.       WALGREENS         BOOTS      ALLIANCE,        INC.,   a/k/a    WALGREEN         CO.

("Walgreens”) is a Delaware corporation with its principal place of business in Illinois and may

be served through its registered agent for service of process, CSC-Lawyers Incorporating Service

Company, 7 Saint Paul Street, Suite 820, Baltimore, Maryland 21202. At all relevant times,

Walgreens has sold and continues to sell prescription opioids in close proximity to the County.

       33.       WAL-MART STORES, INC. ("Wal-Mart") is a Delaware corporation with its

principal place of business in Arkansas and may be served through its registered agent for service

of process, The Corporation Trust, Inc., 2405 York Road, Suite 201, Lutherville Timonium,

Maryland 21093. At all relevant times, Wal-Mart has sold and continues to sell prescription

opioids at locations in and in close proximity to the County.

       34.       Defendant RITE AID CORPORATION (“Rite Aid”) is a Delaware corporation

with its principal office located in Camp Hill, Pennsylvania. At all times relevant to this Complaint,

Rite Aid, through its various DEA registrant subsidiaries and affiliated entities, distributed

prescription opioids throughout the United States, including in the County. At all times relevant to

this Complaint, Rite Aid distributed prescription opioids throughout the United States and in the



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County. Rite Aid may be served through its resident agent, The Corporation Trust, Inc., 2405 York

Road, Suite 201, Lutherville Timonium, Maryland 21093.

       35.     Defendant THE KROGER COMPANY (“Kroger”) is an Ohio corporation with its

principal office located in Cincinnati, Ohio. At all times relevant to this Complaint, Kroger,

through its various DEA registrant subsidiaries and affiliated entities, distributed prescription

opioids throughout the United States, including in the County. Kroger may be served through its

resident agent, CSC-Lawyers Incorporating Service Company, 7 St. Paul Street, Suite 820,

Baltimore, Maryland 21202.

       36.     McKesson, Cardinal, AmerisourceBergen, CVS, Walgreens, Walmart, Rite Aid,

and Kroger are referenced in this petition as the “Distributor Defendants.”

       37.     CVS, Walgreens, Walmart, Rite Aid, and Kroger are additionally collectively

referenced in this petition as the “Pharmacy Defendants.”

                                   FACTUAL ALLEGATIONS

       38.     Defendants, in an attempt to sell more pharmaceutical drugs, changed doctors’

views regarding opioids through deceptive marketing schemes. Each Defendant used direct

marketing and unbranded advertising disseminated by seemingly independent third parties to

spread false and deceptive statements about the risks and benefits of long-term opioid use.

       39.     Generally accepted standards of medical practice prior to 1990 dictated that

opioids should be used only for short-term acute pain, which included pain relating to recovery

from surgery or for break-through cancer pain or palliative (end-of-life) care. Prescriptions for

opioids to treat chronic pain was discouraged or even prohibited because there was a lack of

evidence that opioids improved patients’ ability to overcome pain and to function. Instead the

evidence demonstrated that patients developed tolerance to opioids over time, which increased



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the risk of addiction and other side effects.

       40.       Upon information and belief, Defendants spread their false and deceptive

statements by:

         (i) marketing their branded opioids directly to doctors treating patients residing in the

         County and the County patients themselves; and

         (ii) deploying so-called unbiased and independent third parties to the County.

       41.        Defendants’ direct marketing of opioids generally proceeded on two tracks. First,

each Defendant conducted advertising campaigns touting the purported benefits of their branded

drugs. For example, Defendants spent more than $14 million on medical journal advertising of

opioids in 2011, nearly triple what they spent in 2001, including $4.9 million by Janssen and

$1.1 million by Endo.

       42.       Several Defendants’ branded ads deceptively portrayed the benefits of opioids for

chronic pain. For example, Endo distributed and made available on its website,

www.opana.com, a pamphlet promoting Opana ER with photographs depicting patients with

physically demanding jobs like a construction worker and chef, implying that the drug would

provide long-term pain-relief and functional improvement. Pursuant to a settlement agreement,

Endo agreed in late 2015 and 2016 to halt these misleading representations in New York, but they

may continue to disseminate them in Maryland.

       43.       Second, each Defendant promoted the use of opioids for chronic pain through

“detailers” – sales representatives who visited individual doctors and medical staff in their offices–

and small-group speaker programs. Defendants devoted massive resources to direct sales contacts

with doctors. In 2014 alone, Defendants spent $168 million on detailing branded opioids to

doctors, including $34 million by Janssen, $10 million by Endo, and $2 million by Actavis. This



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amount is twice as much as Defendants spent on detailing in 2000.

       44.      Defendants also identified doctors to serve, for payment, on their speakers’

bureaus and to attend programs with speakers and meals paid for by Defendants. These speaker

programs provided: (1) an incentive for doctors to prescribe a particular opioid (so they might be

selected to promote the drug); (2) recognition and compensation for the doctors selected as

speakers; and (3) an opportunity to promote the drug through the speaker to his or her peers.

These speakers gave the false impression that they were providing unbiased and medically-

accurate presentations when they were, in fact, presenting a script prepared by Defendants. On

information and belief, these presentations conveyed misleading information, omitted material

information, and failed to correct Defendants’ prior misrepresentations about the risks and

benefits of opioids.

       45.      Upon information and belief, Defendants employed the same marketing plans,

strategies, and messages in and around the County as they did nationwide. Across the

pharmaceutical industry, “core message” development is funded and overseen on a national basis

by corporate headquarters. This comprehensive approach ensures that Defendants’ messages are

accurately and consistently delivered across marketing channels and in each sales territory.

Defendants consider this high level of coordination and uniformity crucial to successfully

marketing their drugs.

       46.      Upon information and belief, Defendants also deceptively marketed opioids in

and around the County through unbranded advertising – i.e., advertising that promotes opioid

use generally but does not name a specific opioid. This advertising was ostensibly created and

disseminated by independent third parties. But by funding, directing, reviewing, editing, and

distributing this unbranded advertising, Defendants controlled the deceptive messages



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disseminated by these third parties and acted in concert with them to falsely and misleadingly

promote opioids for treating chronic pain.

       47.      Unbranded advertising also avoided regulatory scrutiny because Defendants did

not have to submit it to the FDA, and therefore it was not reviewed by the FDA.

       48.      Defendants’ deceptive unbranded marketing often contradicted their branded

materials reviewed by the FDA. For example, Endo’s unbranded advertising contradicted its

concurrent, branded advertising for Opana ER:

             Pain: Opioid Therapy                    Opana ER Advertisement
                 (Unbranded)                                  (Branded)
                                                 “All patients treated with opioids require
        “People who take opioids as              careful monitoring for signs of abuse and
        prescribed usually do not become         addiction, since use of opioid analgesic
        addicted.”                               products carries the risk of addiction
                                                 even under appropriate medical use.”



       49.      Defendants spoke through a small circle of doctors who, upon information and

belief, were selected, funded, and elevated by Defendants because their public positions

supported using opioids to treat chronic pain. These doctors became known as “key opinion

leaders” or “KOLs.”

       50.      Defendants paid KOLs to serve as consultants or on their advisory boards and to

give talks or present CMEs, and their support helped these KOLs become respected industry

experts. As they rose to prominence, these KOLs touted the benefits of opioids to treat chronic

pain, repaying Defendants by advancing their marketing goals. KOLs’ professional reputations

became dependent on continuing to promote a pro-opioid message, even in activities that were

not directly funded by Defendants.

       51.      KOLs have written, consulted on, edited, and lent their names to books and



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articles, and given speeches and CMEs supportive of chronic opioid therapy. Defendants created

opportunities for KOLs to participate in research studies Defendants suggested or chose and then

cited and promoted favorable studies or articles by their KOLs. By contrast, Defendants did not

support, acknowledge, or disseminate publications of doctors unsupportive or critical of chronic

opioid therapy.

       52.        Defendants’ KOLs also served on committees that developed treatment guidelines

that strongly encourage using opioids to treat chronic pain, and on the boards of pro-opioid

advocacy groups and professional societies that develop, select, and present CMEs. Defendants

were able to direct and exert control over each of these activities through their KOLs.

       53.        Pro-opioid doctors are one of the most important avenues that Defendants use to

spread their false and deceptive statements about the risks and benefits of long-term opioid use.

Defendants know that doctors rely heavily and less critically on their peers for guidance, and

KOLs provide the false appearance of unbiased and reliable support for chronic opioid therapy.

       54.        Defendants utilized many KOLs, including many of the same ones. Two of the

most prominent are described below.

       55.        Dr. Russell Portenoy, former Chairman of the Department of Pain Medicine and

Palliative Care at Beth Israel Medical Center in New York, is one example of a KOL who

Defendants identified and promoted to further their marketing campaign. Dr. Portenoy received

research support, consulting fees, and honoraria from Endo and Janssen (among others).

       56.        Dr. Portenoy was instrumental in opening the door for the regular use of opioids to

treat chronic pain. He served on the American Pain Society (“APS”)/American Academy of Pain

Medicine (“AAPM”) Guidelines Committees, which endorsed the use of opioids to treat chronic

pain, first in 1997 and again in 2009. He was also a member of the board of the American Pain



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Foundation (“APF”), an advocacy organization almost entirely funded by Defendants.

           57.        Dr. Portenoy also made frequent media appearances promoting opioids. He

appeared on Good Morning America in 2010 to discuss using opioids long-term to treat chronic

pain. On this widely-watched program, broadcast in Maryland and across the country, Dr.

Portenoy claimed: “Addiction, when treating pain, is distinctly uncommon. If a person does

not have a history, a personal history, of substance abuse, and does not have a history in the

family of substance abuse, and does not have a very major psychiatric disorder, most doctors can

feel very assured that that person is not going to become addicted.” 1

           58.        Dr. Portenoy later admitted that he “gave innumerable lectures in the late 1980s

and ‘90s about addiction that weren’t true.” 2 These lectures falsely claimed that less than 1% of

patients would become addicted to opioids. According to Dr. Portenoy, because the primary goal

was to “destigmatize” opioids, he and other doctors promoting them overstated their benefits and

glossed over their risks. Dr. Portenoy also conceded that “[d]ata about the effectiveness of

opioids does not exist.” 3 Portenoy candidly stated: “Did I teach about pain management,

specifically about opioid therapy, in a way that reflects misinformation? Well…I guess I did.” 4

           59.        Another KOL, Dr. Lynn Webster, was the co-founder and Chief Medical Director

of Lifetree Clinical Research, an otherwise unknown pain clinic in Salt Lake County, Utah.

Dr. Webster was President in 2013 and is a current board member of AAPM, a Front Group

that ardently supports chronic opioid therapy. He is a Senior Editor of Pain Medicine, the

same journal that published Endo special advertising supplements touting Opana ER. Dr.



1   Good Morning America television broadcast, ABC News (Aug. 30, 2010).
2   Thomas Catan & Evan Perez, A Pain-Drug Champion Has Second Thoughts, WALL ST. J., Dec. 17, 2012.
    3 Id.
    4 Id.




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Webster authored numerous CMEs sponsored by Endo while he was receiving significant

funding from Defendants.

       60.        Dr. Webster also was a leading proponent of the concept of “pseudoaddiction,”

the notion that addictive behaviors should be seen not as warnings, but as indications of

undertreated pain. In Dr. Webster’s description, the only way to differentiate the two was to

increase a patient’s dose of opioids. As he and his co-author wrote in a book entitled Avoiding

Opioid Abuse While Managing Pain (2007), a book that is still available online, when faced with

signs of aberrant behavior, increasing the dose “in most cases . . . should be the clinician’s first

response.” Endo distributed this book to doctors. Years later, Dr. Webster reversed himself,

acknowledging that “[pseudoaddiction] obviously became too much of an excuse to give patients

more medication.”5

       61.        Defendants entered into arrangements with seemingly unbiased and independent

patient and professional organizations (“Front Groups”) to promote opioids for treating chronic

pain. Under Defendants’ direction and control, the Front Groups generated:

         (i)      treatment guidelines;

         (ii)     unbranded materials; and

         (iii)    programs that favored chronic opioid therapy.

 They also assisted Defendants by responding to:

         (i)     negative articles, by advocating against regulatory changes that would limit

         prescribing opioids in accordance with the scientific evidence; and




 5John Fauber & Ellen Gabler, Networking Fuels Painkiller Boom, MILWAUKEE WISC. J. SENTINEL (Feb. 19,
 2012).



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         (ii)   by conducting outreach to vulnerable patient populations targeted by Defendants.

       62.       The Front Groups were funded by the Defendants and depended on the

Defendants in some cases for survival. Defendants also exercised control over programs and

materials created by these groups by collaborating on, editing, and approving their content, and

by funding their dissemination. In doing so, Defendants made sure these Groups would generate

only the messages Defendants wanted to distribute. Even so, the Front Groups held themselves

out as independent and as serving the needs of their members – whether patients suffering

from pain or doctors treating those patients.

       63.       Defendants Endo and Janssen utilized many Front Groups. Some of the Front

Groups include the American Pain Society (“APS”), American Geriatrics Society (“AGS”), the

Federation of State Medical Boards (“FSMB”), American Chronic Pain Association (“ACPA”),

American Society of Pain Education (“ASPE”), National Pain Foundation (“NPF”) and Pain &

Policy Studies Group (“PPSG”).

       64.       The American Pain Foundation (“APF”) received more than $10 million in

funding from opioid manufacturers from 2007 until it closed its doors in May 2012. Endo alone

provided more than half that funding.

       65.       In 2009 and 2010, more than 80% of APF’s operating budget came from

pharmaceutical industry sources. Including industry grants for specific projects, APF received

about $2.3 million from industry sources out of total income of about $2.85 million in 2009; its

budget for 2010 projected receipts of roughly $2.9 million from drug companies, out of total

income of about $3.5 million. By 2011, APF was entirely dependent on incoming grants from

Endo and others to avoid using its line of credit. As one of its board members, Russell

Portenoy, explained the lack of funding diversity was one of the biggest problems at APF.



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        66.      APF issued education guides for patients, reporters, and policymakers that touted

the benefits of opioids for chronic pain and trivialized their risks, particularly the risk of addiction.

APF also engaged in a significant multimedia campaign – through radio, television, and the

internet – to educate patients about their “right” to pain treatment, namely opioids. All of the

programs and materials were available nationally and were, upon information and belief,

intended to reach patients and consumers in the County.

        67.      The American Academy of Pain Medicine, with the assistance, prompting,

involvement, and funding of Defendants, issued treatment guidelines and sponsored and hosted

medical education programs essential to Defendants’ deceptive marketing of chronic opioid

therapy.

        68.      AAPM received over $2.2 million in funding since 2009 from opioid

manufacturers. AAPM maintained a corporate relations council, whose members paid $25,000

per year (on top of other funding) to participate. The benefits included allowing members to

present educational programs at off-site dinner symposia in connection with AAPM’s marquee

event – its annual meeting held in Palm Springs, California, or other resort locations. AAPM

describes the annual event as an “exclusive venue” for offering education programs to doctors.

Membership in the corporate relations council also allows drug company executives and

marketing staff to meet with AAPM executive committee members in small settings. Defendants

Endo and Actavis were members of the council and presented deceptive programs to doctors

who attended this annual event.

        69.      AAPM is viewed internally by Endo as “industry friendly,” with Endo advisors

and speakers among its active members. Endo attended AAPM conferences, funded its CMEs,

and distributed its publications. The conferences sponsored by AAPM heavily emphasized



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sessions on opioids 37 out of roughly 40 at one conference alone. AAPM’s presidents have

included top industry-supported KOLs Perry Fine, Russell Portenoy, and Lynn Webster. Dr.

Webster was even elected president of AAPM while under a DEA investigation. Another past

AAPM president, Dr. Scott Fishman, stated that he would place the organization “at the forefront”

of teaching that “the risks of addiction are . . . small and can be managed.” 6

        70.        AAPM’s staff understood they and their industry funders were engaged in a

common task. Defendants were able to influence AAPM through both their significant and

regular funding and the leadership of pro-opioid KOLs within the organization.

        71.        In 1997, AAPM and the American Pain Society jointly issued a consensus

statement, The Use of Opioids for the Treatment of Chronic Pain, which endorsed opioids to

treat chronic pain and claimed there was a low risk that patients would become addicted to

opioids. Dr. Portenoy was the sole consultant. The consensus statement remained on AAPM’s

website until 2011 and was taken down from AAPM’s website only after a doctor complained,

though it still lingers on the internet elsewhere.

        72.        AAPM and APS issued their own guidelines in 2009 (“AAPM/APS Guidelines”)

and continued to recommend using opioids to treat chronic pain. Fourteen of the 21 panel

members who drafted the AAPM/APS Guidelines, including KOLs Dr. Portenoy and Dr. Perry

Fine of the University of Utah, received support from Janssen and Endo.

        73.       The 2009 Guidelines promote opioids as “safe and effective” for treating chronic

pain, despite acknowledging limited evidence, and conclude that the risk of addiction is

manageable for patients regardless of past abuse histories. One panel member, Dr. Joel Saper,



 6 Interview by Paula Moyer with Scott M. Fishman, M.D., Professor of Anesthesiology and Pain Medicine, Chief of

 the Division of Pain Medicine, Univ. of Cal., Davis (2005), http://www.medscape.org/viewarticle/500829.



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Clinical Professor of Neurology at Michigan State University and founder of the Michigan

Headache & Neurological Institute, resigned from the panel because he was concerned the 2009

Guidelines were influenced by contributions that drug companies, including Defendants, made to

the sponsoring organizations and committee members. These AAPM/APS Guidelines have been

a particularly effective channel of deception and have influenced not only treating physicians,

but also the body of scientific evidence on opioids. The Guidelines have been cited 732 times in

academic literature, were, upon information and belief, disseminated in and around the County

during the relevant time period, are still available online, and were reprinted in the Journal

of Pain.

        74.      Upon information and belief, to convince doctors treating residents in the

County and the County patients that opioids can and should be used to treat chronic pain,

Defendants had to convince them that long-term opioid use is both safe and effective. Knowing

they could do so only by deceiving those doctors and patients about the risks and benefits of

long-term opioid use, Defendants made claims that were not supported by, or were contrary to,

the scientific evidence. Even though pronouncements by and guidance from the FDA and the

CDC based on that evidence confirm that their claims were false and deceptive, Defendants have

not corrected them, or instructed their KOLs or Front Groups to correct them and continue to

spread them today.

        75.      To convince doctors and patients that opioids are safe, Defendants deceptively

trivialized and failed to disclose the risks of long-term opioid use, particularly the risk of addiction,

through a series of misrepresentations that have been conclusively debunked by the FDA and

CDC. These misrepresentations – which are described below – reinforced each other and created

the dangerously misleading impression that: (1) starting patients on opioids was low-risk because



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most patients would not become addicted, and because those who were at greatest risk of

addiction could be readily identified and managed; (2) patients who displayed signs of addiction

probably were not addicted and, in any event, could easily be weaned from the drugs; (3) the use

of higher opioid doses, which many patients need to sustain pain relief as they develop

tolerance to the drugs, does not pose special risks; and (4) abuse-deterrent opioids both prevent

overdose and are inherently less addictive. Defendants have not only failed to correct these

misrepresentations, they continue to make them today.

       76.      Defendants falsely claimed the risk of addiction is low and unlikely to develop

when opioids are prescribed, as opposed to obtained illicitly, and failed to disclose the greater

risk of addiction with prolonged use of opioids. For example:

                a.     Actavis’s predecessor caused a patient education brochure to be
                       distributed in 2007 claiming opioid addiction is possible, but “less likely
                       if you have never had an addiction problem.” Upon information and
                       belief, based on Actavis’s acquisition of its predecessor’s marketing
                       materials along with the rights to Kadian, Actavis continued to use this
                       brochure in 2009 and beyond;

                b.     Endo sponsored a website, Painknowledge.com, which claimed in 2009
                       that “[p]eople who take opioids as prescribed usually do not become
                       addicted.” Another Endo website, PainAction.com, stated “Did you
                       know? Most chronic pain patients do not become addicted to the opioid
                       medications that are prescribed for them;”

                c.     Endo distributed a pamphlet with the Endo logo entitled Living with
                       Someone with Chronic Pain, which stated that: “Most health care
                       providers who treat people with pain agree that most people do not
                       develop an addiction problem.” A similar statement appeared on the Endo
                       website, www.opana.com;

                d.     Janssen reviewed, edited, approved, and distributed a patient education
                       guide entitled Finding Relief: Pain Management for Older Adults (2009),
                       which described as “myth” the claim that opioids are addictive, and
                       asserted as fact that “[m]any studies show that opioids are rarely addictive
                       when used properly for the management of chronic pain;”

                e.     Janssen currently runs a website, Prescriberesponsibly.com (last

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                             updated July 2, 2015), which claims that concerns about opioid addiction
                             are “overestimated;” and

                   f.        Upon information and belief, detailers for Endo and Janssen in and
                             around the County minimized or omitted any discussion with doctors
                             of the risk of addiction; misrepresented the potential for opioid abuse
                             with purportedly abuse-deterrent formulations; and routinely did not
                             correct the misrepresentations noted above.

        77.         These claims contradict longstanding scientific evidence, as the FDA and CDC

have conclusively declared. As noted in the 2016 CDC Guideline endorsed by the FDA, there is

“extensive evidence” of the “possible harms of opioids (including opioid use disorder [an

alternative term for opioid addiction]).” 7 The guideline points out that “[o]pioid pain medication

use presents serious risks, including…opioid use disorder” and that “continuing opioid therapy

for 3 months substantially increases risk for opioid use disorder.” 8

        78.         The FDA further exposed the falsity of Defendants’ claims about the low risk of

addiction when it announced changes to the labels for ER/LA opioids in 2013 and for IR opioids

in 2016. In its announcements, the FDA discussed the risks related to opioid use and that IR

opioids are associated with “persistent abuse, addiction, overdose mortality, and risk of NOWS

[neonatal opioid withdrawal syndrome].”9

        79.         According to the FDA, because of the risks associated with long-term opioid use,

including “the serious risk of addiction, abuse, misuse, overdose, and death,” 10 opioids should be

“reserved for pain severe enough to require opioid treatment and for which alternative treatment

options (e.g., non-opioid analgesics or opioid combination products, as appropriate) are



 7CDC Guideline for Prescribing Opioids for Chronic Pain – United States 2016, Centers for Disease Control and
 Prevention (Mar. 18, 2016).
 8 Id.
 9 FDA Announcement of Enhanced Warnings for Immediate-Release Opioid Pain Medications Related to Risks of Misuse, Abuse,
 Addiction, Overdose and Death, Federal Drug Administration (Mar. 22, 2016).
 10 Id.




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inadequate or not tolerated.” 11

         80.         The warnings on Defendants’ own FDA-approved drug labels caution that opioids

“exposes users to risks of addiction, abuse and misuse, which can lead to overdose and death”12

and that addiction “can occur in patients appropriately prescribed” 13 opioids.

         81.         Defendants falsely instructed doctors and patients that signs of addiction are

actually signs of undertreated pain and should be treated by prescribing more opioids.

Defendants called this phenomenon “pseudoaddiction” – a term coined by Dr. David Haddox

and popularized by Dr. Russell Portenoy, a KOL for Endo and Janssen – and claimed that

pseudoaddiction is substantiated by scientific evidence. For example:

                     a.        Janssen sponsored, funded, and edited the Let’s Talk Pain website, which
                               in 2009 stated: “pseudoaddiction . . . refers to patient behaviors that
                               may occur when pain is under-treated . . . . Pseudoaddiction is different
                               from true addiction because such behaviors can be resolved with
                               effective pain management;”

                     b.        Endo sponsored a National Initiative on Pain Control (NIPC) CME
                               program in 2009 titled Chronic Opioid Therapy: Understanding Risk
                               While Maximizing Analgesia, which promoted pseudoaddiction by
                               teaching that a patient’s aberrant behavior was the result of untreated
                               pain. Endo substantially controlled NIPC by funding NIPC projects;
                               developing, specifying, and reviewing content; and distributing NIPC
                               materials;

         82.         The 2016 CDC Guideline rejects the concept of pseudoaddiction. The Guideline

nowhere recommends that opioid dosages be increased if a patient is not experiencing pain relief.

To the contrary, the Guideline explains that “[p]atients who do not experience clinically

meaningful pain relief early in treatment…are unlikely to experience pain relief with longer-term




 11 Id.
 12 See, e.g., OxyContin label and insert at OxyContin.com.
 13 Id.




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use,” 14 and that physicians should “reassess [] pain and function within 1 month” 15 in order to

decide whether to “minimize risks of long-term opioid use by discontinuing opioids” 16 because

the patient is “not receiving a clear benefit.” 17

            83.          Defendants falsely instructed doctors and patients that addiction risk screening

tools, patient contracts, urine drug screens, and similar strategies allow them to reliably identify

and safely prescribe opioids to patients predisposed to addiction. These misrepresentations

were especially insidious because Defendants aimed them at general practitioners and family

doctors who lack the time and expertise to closely manage higher-risk patients. Defendants’

misrepresentations made these doctors feel more comfortable prescribing                      opioids to their

patients, and patients more comfortable starting opioid therapy for chronic pain. For example:

                         a.        Endo paid for a 2007 supplement in the Journal of Family Practice written
                                   by a doctor who became a member of Endo’s speakers’ bureau in 2010.
                                   The supplement, entitled Pain Management Dilemmas in Primary Care:
                                   Use of Opioids, emphasized the effectiveness of screening tools, claiming
                                   that patients at high risk of addiction could safely receive chronic opioid
                                   therapy using a “maximally structured approach” involving toxicology
                                   screens and pill counts; and

            84.        The 2016 CDC Guideline confirms these representations are false. The

Guideline notes that there are no studies assessing the effectiveness of risk mitigation

strategies – such as screening tools, patient contracts, urine drug testing, or pill counts – widely

believed by doctors to detect and deter outcomes related to addiction and overdose. 18 As a result,

the Guideline recognizes that doctors should not overestimate the risk screening tools for



 14
       CDC Guidelines for Prescribing Opioids for Chronic Pain, supra.
 15   Id.
 16   Id.
 17   Id.
18
     CDC Guidelines for Prescribing Opioids for Chronic Pain, supra.


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classifying patients as high or low risk for opioid addiction because they are insufficient to rule

out the risks of long-term opioid therapy. 19

               85.     To downplay the risk and impact of addiction and make doctors feel more

comfortable starting patients on opioids, Defendants falsely claimed that opioid dependence can

easily be addressed by tapering and that opioid withdrawal is not a problem thereby failing to

disclose the increased difficulty of stopping opioids after long-term use.

               86.     For example, a CME sponsored by Endo, entitled Persistent Pain in the Older

Adult, claimed that withdrawal symptoms can be avoided by tapering a patient’s opioid dose by

10%-20% for 10 days.

               87.     Defendants deceptively minimized the significant symptoms of opioid

withdrawal, which, as explained in the 2016 CDC Guideline, include drug cravings, anxiety,

insomnia, abdominal pain, vomiting, diarrhea, sweating, tremor, tachycardia (rapid heartbeat),

spontaneous abortion and premature labor in pregnant women, and the unmasking of anxiety,

depression, and addiction – and grossly understated the difficulty of tapering, particularly after

long-term opioid use.

               88.     Yet the 2016 CDC Guideline recognizes that the duration of opioid use and the

dosage of opioids prescribed should be limited to “minimize the need to taper opioids to prevent

distressing or unpleasant withdrawal symptoms,”20 because “physical dependence on opioids is

an expected physiologic response in patients exposed to opioids for more than a few days.”21

The Guideline further states that “tapering opioids can be especially challenging after years on




19   See id.

20   CDC Guidelines for Prescribing Opioids for Chronic Pain, supra.
21   Id.


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high dosages because of physical and psychological dependence” 22 and highlights the

difficulties, including the need to carefully identify “a taper slow enough to minimize symptoms

and signs of opioid withdrawal” 23 and pausing and restarting tapers depending on the patient’s

response.

             89.       The CDC also acknowledges the lack of any “high-quality studies comparing the

effectiveness of different tapering protocols for use when opioid dosage is reduced, or opioids are

discontinued.” 24

             90.       Defendants falsely claimed that doctors and patients could increase opioid dosages

indefinitely without added risk and failed to disclose the greater risks to patients at higher

dosages. The ability to escalate dosages was critical to Defendants’ efforts to market opioids

for long-term use to treat chronic pain because, absent this misrepresentation, doctors would

have abandoned treatment when patients built up tolerance and lower dosages did not provide

pain relief. For example:

                        a.         Actavis’s predecessor created a patient brochure for Kadian in 2007 that
                                   stated, “Over time, your body may become tolerant of your current dose.
                                   You may require a dose adjustment to get the right amount of pain relief.
                                   This is not addiction.” Upon information and belief, based on Actavis’s
                                   acquisition of its predecessor’s marketing materials along with the rights
                                   to Kadian, Actavis continued to use these materials in 2009 and beyond;

                        b.         Endo sponsored a website, painknowledge.com, which claimed in 2009
                                   that opioid dosages may be increased until “you are on the right dose
                                   of medication for your pain;”

                        c.         Endo distributed a pamphlet edited by a KOL entitled Understanding Your
                                   Pain: Taking Oral Opioid Analgesics, which was available during the time
                                   period of this Complaint on Endo’s website. In Q&A format, it asked “If I
                                   take the opioid now, will it work later when I really need it?” The response

22   Id.
23   CDC Guidelines for Prescribing Opioids for Chronic Pain, supra.
24   Id.



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                                 is, “The dose can be increased. . . . You won’t ‘run out’ of pain relief;”

                      d.         Janssen sponsored a patient education guide entitled Finding Relief: Pain
                                 Management for Older Adults (2009), which was distributed by its sales
                                 force. This guide listed dosage limitations as “disadvantages” of other
                                 pain medicines but omitted any discussion of risks of increased opioid
                                 dosages;

          91.        These claims conflict with the scientific evidence, as confirmed by the FDA and

CDC. As the CDC explains in its 2016 Guideline, the “[b]enefits of high-dose opioids for

chronic pain are not established” 25 while the “risks for serious harms related to opioid therapy

increase at higher opioid dosage.” 26

          92.        More specifically, the CDC explains that “there is now an established body of

scientific evidence showing that overdose risk is increased at higher opioid dosages.” 27

Similarly, there is an “increased risk for opioid use disorder, respiratory depression, and death at

higher dosages.”28 That is why the CDC advises doctors to avoid increasing dosages above 90

morphine milligram equivalents per day.

          93.        The 2016 CDC Guideline reinforces earlier findings announced by the FDA. In

2013, the FDA acknowledged that available data suggested that increasing the opioid dosage

likewise increased certain adverse events. For example, the FDA noted that studies suggest a

positive association between high-dose opioid use and overdoses.

          94.        Finally, Defendants’ deceptive marketing of the so-called abuse-deterrent properties

of some of their opioids has created false impressions that these opioids can curb addiction

and abuse.

          95.        More specifically, Defendants have made misleading claims about the ability of


25 CDC Guidelines for Prescribing Opioids for Chronic Pain, supra.
26 Id.
27 Id.
28 Id.




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their so-called abuse-deterrent opioid formulations to deter addiction and overdose. For example,

Endo’s advertisements for the 2012 reformulation of Opana ER claimed that it was designed to

be crush resistant in a way that suggested it was more difficult to misuse the product. This claim

was false.

             96.       The FDA warned in a 2013 letter that there was no evidence Endo’s design would

provide a reduction in oral, intranasal or intravenous use. 29 Moreover, Endo’s own studies,

which it failed to disclose, showed that Opana ER could still be ground and chewed.

             97.       In a 2016, settlement with the State of New York, Endo agreed not to make

statements in New York that Opana ER was designed to be or is crush resistant. The State found

those statements false and deceptive because there was no difference in the ability to extract the

narcotic from Opana ER.

             98.       Similarly, the 2016 CDC Guideline states that no studies support the notion that

“abuse-deterrent technologies [are] a risk mitigation strategy for deterring or preventing abuse,” 30

noting that the technologies – even when they work – “do not prevent opioid abuse through oral

intake, the most common route of opioid abuse, and can still be abused by non-oral routes.” 31

             99.       These numerous, long-standing misrepresentations of the risks of long-term opioid

use were spread by Defendants and successfully convinced doctors and patients to discount those

risks.

             100.      To convince doctors and patients that opioids should be used to treat chronic

pain, Defendants had to persuade them that there was a significant benefit to long-term opioid

use. But as the 2016 CDC Guideline makes clear, there is “insufficient evidence to determine


29   See FDA Statement: Original Opana ER Relisting Determination (May 10, 2013).
30   CDC Guidelines for Prescribing Opioids for Chronic Pain, supra.
31   Id.


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the long-term benefits of opioid therapy for chronic pain.” 32

           101.   In fact, the CDC found no evidence showing “a long-term benefit of opioids in

pain and function versus no opioids for chronic pain with outcomes examined at least 1 year

later (with most placebo-controlled randomized trials ≤ 6 weeks in duration)” 33 and that other

treatments were more or equally beneficial and less harmful than long-term opioid use. The

FDA, too, has recognized the lack of evidence to support long-term opioid use.

           102.   In 2013, the FDA stated that it was unaware of any studies demonstrating the

safety and efficacy of opioids for long-term use. 34 Despite this lack of studies, Defendants

falsely and misleadingly touted the benefits of long-term opioid use and suggested that these

benefits were supported by scientific evidence. Not only have Defendants failed to correct

these false and deceptive claims, they continue to make them today. For example:

                   a.     Actavis distributed an advertisement that claimed that the use of Kadian
                          to treat chronic pain would allow patients to return to work, relieve
                          “stress on your body and your mental health,” and help patients enjoy
                          their lives;

                   b.     Endo distributed advertisements that claimed that the use of Opana ER
                          for chronic pain would allow patients to perform demanding tasks like
                          construction work or work as a chef and portrayed seemingly healthy,
                          unimpaired subjects;

                   c.     Janssen sponsored and edited a patient education guide entitled Finding
                          Relief: Pain Management for Older Adults (2009) – which states as
                          “a fact” that “opioids may make it easier for people to live normally.”
                          The guide lists expected functional improvements from opioid use,
                          including sleeping through the night, returning to work, recreation, sex,
                          walking, and climbing stairs;

                  d.      Endo’s NIPC website painknowledge.com claimed in 2009 that with

32   Id.
33   Id.
34Letter from Janet Woodcock, M.D., Dir., Ctr. For Drug Eval. & Res., to Andrew Kolodny, M.D., Pres.
Physicians for Responsible Opioid Prescribing, Re Docket No. FDA-2012-P-0818 (Sept. 10, 2013).



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                                 opioids, “your level of function should improve; you may find you
                                 are now able to participate in activities of daily living, such as work
                                 and hobbies, that you were not able to enjoy when your pain was
                                 worse.” Elsewhere, the website touted improved quality of life (as well
                                 as “improved function”) as benefits of opioid therapy. The grant request
                                 that Endo approved for this project specifically indicated NIPC’s intent
                                 to make misleading claims about function, and Endo closely tracked
                                 visits to the site;

                      e.         Endo was the sole sponsor, through NIPC, of a series of CMEs titled
                                 Persistent Pain in the Older Patient, which claimed that chronic opioid
                                 therapy has been “shown to reduce pain and improve depressive
                                 symptoms and cognitive functioning.” The CME was disseminated
                                 via webcast;

                      f.         Janssen sponsored, funded, and edited a website, Let’s Talk Pain, in 2009,
                                  which featured an interview edited by Janssen claiming that opioids
                                  allowed a patient to “continue to function.” This video is still available
                                  today on YouTube;

                      g.         Endo’s, and Janssen’s sales representatives have conveyed and continue
                                 to convey the message that opioids will improve patient function.

          103.        These claims find no support in the scientific literature. Most recently, the 2016

CDC Guideline, approved by the FDA, concluded, “There is no good evidence that opioids

improve pain or function with long-term use” 35 and “complete relief of pain is unlikely.”36

(Emphasis added.) The CDC reinforced this conclusion throughout its 2016 Guideline:

                      a.         “No evidence shows a long-term benefit of opioids in pain and function
                                 versus no opioids for chronic pain with outcomes examined at least 1
                                 year later . . .” 37

                      b.         “Although opioids can reduce pain during short-term use, the clinical
                                 evidence review found insufficient evidence to determine whether pain
                                 relief is sustained and whether function or quality of life improves with
                                 long-term opioid therapy;” 38 and

                      c.         “[E]vidence is limited or insufficient for improved pain or function

35 CDC Guidelines for Prescribing Opioids for Chronic Pain, supra.
36 Id.
37 Id.
38 Id.




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                          with long-term use of opioids for several chronic pain conditions for
                          which opioids are commonly prescribed, such as low back pain,
                          headache, and fibromyalgia.” 39

        104.      The CDC also noted that the risks of addiction and death “can cause distress and

inability to fulfill major role obligations.”40 As a matter of common sense (and medical evidence),

drugs that can kill patients or commit them to a life of addiction or recovery do not improve

their function and quality of life.

        105.      The 2016 CDC Guideline was not the first time a federal agency repudiated

Defendants’ claim that opioids improved function and quality of life. In 2010, the FDA warned

Actavis that “[w]e are not aware of substantial evidence or substantial clinical experience

demonstrating that the magnitude of the effect of the drug [Kadian] has in alleviating pain, taken

together with any drug-related side effects patients may experience…results in any overall

positive impact on a patient’s work, physical and mental functioning, daily activities, or

enjoyment of life.” 41

        106.      Defendants also falsely emphasized or exaggerated the risks of competing

products like nonsteroidal anti-inflammatory drugs (“NSAIDs”) so that doctors and patients

would look to opioids first for treating chronic pain. Once again, Defendants’ misrepresentations

contravene pronouncements by and guidance from the FDA and CDC based on the scientific

evidence.

        107.      Consequently, the FDA changed the labels for extended release and long acting

opioids in 2013 and immediate release opioids in 2016 to state that opioids should be used only


39 Id.
40 Id.
41 Warning Letter from Thomas Abrams, Dir., FDA Div. of Mktg., Adver., & Commc’ns, to Doug Boothe, CEO,

Actavis Elizabeth LLC (Feb. 18, 2010), http://www.fda.gov/Drugs/GuidanceComplianceRegulatoryInformation/
EnforcementActivitiesbyFDA/WarningLettersandNoticeofViolationLetterstoPharmaceuticalCompanies/
ucm259240.htm.


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as a last resort where alternative treatments like non-opioid drugs are inadequate. And the 2016

CDC Guideline states that NSAIDs, not opioids, should be the first-line treatment for chronic

pain, particularly arthritis and lower back pain.

       108.     The State of New York found that Endo failed to require sales representatives to

report signs of addiction, diversion, and inappropriate prescribing; paid bonuses to sales

representatives for detailing prescribers who were subsequently arrested or convicted for illegal

prescribing; and failed to prevent sales representatives from visiting prescribers whose suspicious

conduct had caused them to be placed on a no-call list.

       109.     As a part of their deceptive marketing scheme, Defendants identified and targeted

susceptible prescribers and vulnerable patient populations in the U.S. and, upon information and

belief, in and around the County. For example, Defendants focused their deceptive marketing on

primary care doctors, who were more likely to treat chronic pain patients and prescribe

opioids but were less likely to be educated about treating pain and the risks and benefits of

opioids.

       110.     Defendants also targeted vulnerable patient populations like the elderly and

veterans, who tend to suffer from chronic pain. Defendants targeted these vulnerable patients

even though the risks of long-term opioid use were significantly greater for them.

       111.     For example, the 2016 CDC Guideline observes that existing evidence shows that

elderly patients taking opioids suffer from elevated fall and fracture risks, greater risk of

hospitalization, and increased vulnerability to adverse drug effects and interactions. The

Guideline therefore concludes that there are “special risks of long-term opioid use for elderly

patients” and recommends that doctors use “additional caution and increased monitoring” to

minimize the risks of opioid use in elderly patients.



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       112.      Defendants, both individually and collectively, made, promoted, and profited

from their misrepresentations about the risks and benefits of opioids for chronic pain even though

they knew their misrepresentations were false and deceptive. The history of opioids, as well as

research and clinical experience over the last 20 years, established that opioids were highly

addictive and responsible for a long list of very serious adverse outcomes.

       113.      Not only did the FDA and other regulators warn Defendants, but Defendants had

access to scientific studies, detailed prescription data, and reports of adverse events, including

reports of addiction, hospitalization, and deaths – all of which made clear the harms from long-

term opioid use, including the suffering from addiction, overdoses, and death in alarming numbers

in patients using opioids.

       114.      More recently, the FDA and CDC have issued pronouncements based on the

medical evidence that conclusively expose the known falsity of Defendants’ misrepresentations,

and Endo has recently entered agreements prohibiting them from making some of the same

misrepresentations described herein in New York.

       115.      Moreover, Defendants took steps to avoid detection of and to fraudulently conceal

their deceptive marketing and unlawful, unfair, and fraudulent conduct. For example, Defendants

disguised their role in the deceptive marketing of chronic opioid therapy by funding and working

through third parties like Front Groups and KOLs.

       116.      Finally, Defendants manipulated their promotional materials and the scientific

literature to make it appear that these items were accurate, truthful, and supported by objective

evidence when they were not.

       117.      Thus, Defendants successfully concealed from the medical community and

patients’ facts sufficient to arouse suspicion of the claims the County now asserts. The County



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did not know of the existence or scope of Defendants’ industry-wide fraud and could not have

acquired such knowledge earlier through the exercise of reasonable diligence.

        118.      Defendants’ misrepresentations deceived doctors and patients about the risks and

benefits of long-term opioid use. Studies reveal that many doctors and patients are unaware of or

do not understand the risks or benefits of opioids. Indeed, patients often report that they were

not warned they might become addicted to opioids prescribed to them. As reported in January

2016, a 2015 survey of more than 1,000 opioid patients found that 4 out of 10 were not told

opioids were potentially addictive. 42

        119.      While Defendants may claim the federal government authorized the amount of

annual prescription opioids sold, they know in truth that several Defendants have successfully

used their organized money and influence to render the federal government’s enforcement agency,

the Drug Enforcement Administration, virtually powerless to interrupt the over-supply of

prescription opioid drugs.

        120.      Upon information and belief, Defendants’ deceptive marketing scheme caused

and continues to cause doctors in and around the County to prescribe opioids for chronic pain

conditions such as back pain, headaches, arthritis, and fibromyalgia. Absent Defendants’

deceptive marketing scheme, these doctors would not have been able to over prescribe opioids or

become embroiled in pill mills that negatively impacted residents of the County.

        121.      Defendants’ deceptive marketing scheme also caused and continues to cause

patients to purchase and use opioids for their chronic pain believing they are safe and effective.

Absent Defendants’ deceptive marketing scheme, fewer patients would be using opioids long-



 42Hazelden Betty Ford Foundation, Missed Questions, Missed Opportunities (Jan. 27, 2016), available at
 http://www.hazeldenbettyford.org/about-us/news-and-media/pressrelease/doctors-missing-questions-that-could-
 prevent-opioid-addiction.


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term to treat chronic pain, and those patients using opioids would be using less of them.

         122.       Defendants’ deceptive marketing has caused and continues to cause the

prescribing and use of opioids to explode. Indeed, this dramatic increase in opioid prescriptions

and use corresponds with the dramatic increase in Defendants’ spending on their deceptive

marketing scheme. Defendants’ spending on opioid marketing totaled approximately $91 million

in 2000. By 2011, that spending tripled to $288 million.

         123.       The escalating number of opioid prescriptions written by doctors who were

deceived by Defendants’ deceptive marketing scheme is the cause of a correspondingly dramatic

increase in opioid addiction, overdose, and death throughout the U.S. and the County.

         124.       Scientific evidence demonstrates a strong correlation between opioid prescriptions

and becoming addicted to opioids. In a 2016 report, the CDC explained that prescribing opioids

has quadrupled since 1999, which has resulted in a parallel increase in opioid overdoses.43

Indeed, there has been a two-third increase in overdose deaths from using opioids since 2000.44

For these reasons, the CDC concluded that efforts to rein in the prescribing of opioids for chronic

pain are critical “to reverse the cycle of opioid pain medication misuse that contributes to the

opioid overdose epidemic.” 45

         125.       Due to the increase in opioid overdoses, first responders such as police officers,

have been and will continue to be in the position to assist people experiencing opioid-related



43
    CDC. National Vital Statistics System, Mortality. CDC WONDER. Atlanta, GA: US Department of Health and
Human Services, CDC; 2016. https://wonder.cdc.gov/; Rudd RA, Seth P, David F, Scholl L. Increases in Drug and
Opioid-Involved Overdose Deaths — United States, 2010–2015. MMWR Morb Mortal Wkly Rep. ePub: 16
December 2016.
44
    National Vital Statistics System, Mortality file and appearing Center for Disease Control and Prevention Morbidity and
Mortality Weekly Report, January 1, 2006 / 64(50); 1378-82, Increases in Drug and Opioid Deaths – United States, 2000-
2014.
45
   CDC Guideline for Prescribing Opioids for Chronic Pain, supra; see also Rudd RA, Seth P, David F, Scholl L. Increases in
Drug and Opioid-Involved Overdose Deaths — United States, 2010–2015. MMWR Morb Mortal Wkly Rep. ePub:
16 December 2016.


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overdoses. In 2016, “over 1,200 law enforcement departments nationwide carried naloxone in an

effort to prevent opioid-related deaths.” 46

         126.       Upon information and belief, Defendants’ deceptive marketing scheme has also

detrimentally impacted children in the County. Overprescribing opioids for chronic pain has made

the drugs more accessible to school-aged children, who come into contact with opioids after

they have been prescribed to friends or relatives in the same household.

         127.       Upon information and belief, Defendants’ conduct has adversely affected the

County’s child protection agencies in the number of children in foster care driven by parental

drug addiction. Children with parents addicted to drugs tend to stay in foster care longer, and

they often enter the system having experienced significant trauma, which makes these cases

more expensive for counties like the County.

         128.       Upon information and belief, opioid addiction is a significant reason that the

County residents seek treatment for substance dependence. A significant number of admissions

or drug addiction were associated with a primary diagnosis of opiate addiction or dependence.

         129.       Upon information and belief, Defendants’ creation, through false and deceptive

advertising and other unlawful and unfair conduct, of a virtually limitless opioid market has

significantly harmed the County communities. Defendants’ success in extending the market for

opioids to new patients and chronic pain conditions has created an abundance of drugs

available for non-medical and criminal use and fueled a new wave of addiction and injury. It has

been estimated that 60% of the opioids to which people are addicted come, directly or indirectly,

through doctors’ prescriptions. 47


46
  Id. citing http://www.nchrc.org/law-enforcement/us-law-enforcement-who-carry-naloxone/.
47
  Nathaniel P. Katz, Prescription Opioid Abuse: Challenges and Opportunities for Payers, Am. J. Managed Care (Apr. 19
2013), at 5 (“The most common source of abused [opioids] is, directly or indirectly, by prescription.”),


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        130.      Law enforcement agencies have increasingly associated prescription drug

addiction with violent and property crimes. Despite strict federal regulation of prescription

drugs, local law enforcement agencies are faced with increasing diversion from legitimate sources

for illicit purposes, including doctor shopping, forged prescriptions, falsified pharmacy records,

and employees who steal from their place of employment. The opioid epidemic has prompted

a growing trend of crimes against pharmacies including robbery and burglary. This ongoing

diversion of prescription narcotics creates a lucrative marketplace.

        131.      The rise in opioid addiction caused by Defendants’ deceptive marketing scheme

has also resulted in an explosion in heroin use. For example, heroin use has more than doubled

in the past decade among adults aged 18 to 25 years. 48 Moreover, heroin-related overdoses in the

United States has more than quadrupled since 2010. 49

        132.      The costs and consequences of opioid addiction are staggering. For example, in

2007, the cost of healthcare due to opioid addiction and dependence was estimated at $25 billion,

the cost of criminal justice was estimated at $5.1 billion, and the cost of lost workplace

productivity was estimated at $25.6 billion.

        133.      Consequently, prescription opioid addiction and overdose have an enormous

impact on the health and safety of individuals, as well as communities at large, because the

consequences of this epidemic reach far beyond the addicted individual.

        134.      Upon information and belief, some of the repercussions for residents of the

County include job loss, loss of custody of children, physical and mental health problems,



http://www.ajmc.com/publications/issue/2013/2013-1-vol19-n4/Prescription-Opioid-Abuse-Challenges-and-
Opportunities-for-Payers.
48
   Centers for Disease Control and Prevention. Vital Signs: Today’s Heroin Epidemic – More People at Risk,
Multiple Drugs Abused. (https://www.cdc.gov/vitalsigns/heroin/index.html). MMWR 2015.
49 https://www.cdc.gov/vitalsigns/heroin/index.html




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homelessness and incarceration, which result in instability in communities often already in

economic crisis and contributes to increased demand on community services such as hospitals,

courts, child services, treatment centers, and law enforcement.

       135.     Defendants knew and should have known about these harms that their deceptive

marketing has caused and continues to cause and will cause in the future. Defendants closely

monitored their sales and the habits of prescribing doctors. Their sales representatives, who

visited doctors and attended CMEs, knew which doctors were receiving their messages and how

they were responding.

       136.     Defendants also had access to and carefully watched government and other data

that tracked the explosive rise in opioid use, addiction, injury, and death. Defendants not only

knew but intended that their misrepresentations would persuade doctors to prescribe and

encourage patients to use their opioids for chronic pain.

       137.     Defendants’ actions are neither permitted nor excused by the fact that their drug

labels may have allowed, or did not exclude, the use of opioids for chronic pain. FDA approval

of opioids for certain uses did not give Defendants license to misrepresent the risks and benefits

of opioids. Indeed, Defendants’ misrepresentations were directly contrary to pronouncements

by, and guidance from, the FDA based on the medical evidence and their own labels.

       138.     Nor is Defendants’ causal role broken by the involvement of doctors. Defendants’

marketing efforts were ubiquitous and highly persuasive. Their deceptive messages tainted

virtually every source doctors could rely on for information and prevented them from making

informed treatment decisions. Defendants also hijacked what doctors wanted to believe – namely,

that opioids represented a means of relieving their patients’ suffering and of practicing medicine

more compassionately.



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       139.     Upon information and belief, Defendants’ actions and omissions were each a

cause-in-fact of the County’s past and future damages. Upon information and belief, Defendants’

wrongful conduct caused injuries to the County in the past, continues to cause injuries to the

County, and will continue to cause injuries to the County in the future. Future damages include,

but are not limited to, additional resources for counseling and medication assisted treatment of

addicts, medical treatment for overdoses, life skills training for     adolescents, increased law

enforcement, and additional resources to treat the psychological       effects of opioids and the

underlying conditions that make people susceptible to opioid addiction.

       140.     While using opioids has taken a toll on the County and its residents, Defendants

have realized blockbuster profits. In 2014 alone, opioids generated $11 billion in revenue for

drug companies like Defendants. Indeed, financial information indicates that each Defendant

experienced a material increase in sales, revenue, and profits from the false and deceptive

advertising and other unlawful and unfair conduct described above.

       141.     Manufacturer    Defendants     made,   promoted,     and   profited   from    their

misrepresentations about the risks and benefits of opioids for chronic pain even though they knew

that their marketing was false and misleading. The history of opioids, as well as research and

clinical experience over the last 20 years, established that opioids were highly addictive and

responsible for a long list of very serious adverse outcomes. The FDA and other regulators warned

Manufacturer Defendants of this, and likewise, Teva paid hundreds of millions of dollars to

address similar misconduct that occurred before 2008. Manufacturer Defendants had access to

scientific studies, detailed prescription data, and reports of adverse events, including reports of

addiction, hospitalization, and deaths-all of which made clear the harms from long-term opioid

use and that patients are suffering from addiction, overdoses, and death in alarming numbers.



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More recently, the FDA and CDC have issued pronouncements based on existing medical

evidence that conclusively expose the known falsity of these Defendants' misrepresentations.

       142.     Notwithstanding this knowledge, at all times relevant to this Complaint,

Manufacturer Defendants took steps to avoid detection of and to fraudulently conceal their

deceptive marketing and unlawful, unfair, and fraudulent conduct.

       143.     Manufacturer Defendants disguised their own role in the deceptive marketing of

chronic opioid therapy by funding and working through biased science, unbranded marketing,

third-party advocates, and professional associations. Endo, Teva, and Janssen purposefully hid

behind the assumed credibility of these sources and relied on them to establish the accuracy and

integrity of Defendants' false and misleading messages about the risks and benefits of long-term

opioid use for chronic pain. Endo, Teva, and Janssen masked or never disclosed their role in

shaping, editing, and approving the content of this information. Defendants also distorted the

meaning or import of studies it cited and offered them as evidence for propositions the studies did

not support.

       144.     Manufacturer Defendants thus successfully concealed from the medical

community, patients, and the State facts sufficient to arouse suspicion of the claims that the

County now asserts. The County did not know of the existence or scope of these Defendants'

fraud and could not have acquired such knowledge earlier through the exercise of reasonable

diligence.

       145.     The Distributor Defendants also fraudulently concealed their misconduct. They

have declined to release the DEA-reported ARCOS data which provides detailed tracking

information about their shipments. In addition, as explained above, these Defendants publicly

portray themselves as maintaining sophisticated technology as part of a concerted effort to thwart



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diversion, and publicly portray themselves as committed to fighting the opioid epidemic, while

failing to meet their obligations to report suspicious orders and prevent diversion.

                                          COUNT I
                                      PUBLIC NUISANCE
                                     (ALL DEFENDANTS)

           146.   The County re-alleges and incorporates by reference each of the allegations

contained in the preceding paragraphs of this Complaint as though fully alleged herein.

           147.   Upon information and belief, Defendants knowingly encouraged doctors in and

around the County to prescribe, and residents to use, highly-addictive opioids for chronic pain

even though Defendants knew using opioids had a high risk of addiction and reduced quality

of life.

           148.   Upon information and belief, by doing so, Defendants purposefully interfered

with the County’s public health, public safety, public peace, public comfort, and public

convenience.

           149.   Upon information and belief, Defendants, individually and in concert with each

other, have contributed to and/or assisted in creating and maintaining a condition that is harmful

to the health and safety of the County residents and/or unreasonably interferes with the peace and

comfortable enjoyment of life in violation of Maryland law.

           150.   The public nuisance created by Defendants’ actions is substantial and

unreasonable – it has caused and continues to cause significant harm to the community – and the

harm inflicted outweighs any offsetting benefit.

           151.   The staggering rates of opioid use resulting from Defendants’ marketing efforts

have caused, and continues to cause, harm to the community including, but not limited to:

                  a.     Upwards of 30% of all adults use opioids. These high rates of use have
                         led to unnecessary opioid addiction, overdose, injuries, and deaths;

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             b.    Children have been exposed to opioids prescribed to family members
                   or others resulting in injury, addiction, and death. Upon information
                   and belief, easy access to prescription opioids has made opioids a
                   recreational drug of choice among the County teenagers; opioid use
                   among teenagers is only outpaced by marijuana use. Even infants have
                   been born addicted to opioids due to prenatal exposure causing severe
                   withdrawal symptoms and lasting developmental impacts;

             c.    Upon information and belief, residents of the County, who have never
                   taken opioids, have endured both the emotional and financial costs
                   of caring for loved ones addicted to or injured by opioids and the loss
                   of companionship, wages, or other support from family members who
                   have used, become addicted to, overdosed on, or been killed by opioids;

             d.    Upon information and belief, more broadly, opioid use and addiction have
                   driven the County residents’ health care costs higher;

             e.    Employers have lost the value of productive and healthy employees who
                   have suffered from adverse consequences from opioid use;

             f.    Defendants’ success in extending the market for opioids to new patients
                   and chronic conditions has created an abundance of drugs available for
                   criminal use and fueled a new wave of addiction and injury. Defendants’
                   scheme created both ends of a new secondary market for opioids –
                   providing both the supply of narcotics to sell and the demand of addicts
                   to buy them;

             g.    This demand has created additional illicit markets in other opiates,
                   particularly heroin. The low cost of heroin has led some of those who
                   initially become addicted to prescription opioids to migrate to cheaper
                   heroin, fueling a new heroin epidemic in the process;

             h.    Upon information and belief, diverting opioids into secondary, criminal
                   markets and increasing the number of individuals who are addicted
                   to opioids has increased the demands on emergency services and law
                   enforcement in the County;

             i.    All of Defendants’ actions have caused significant harm to the
                   community – in lives lost; addictions endured; the creation of an illicit
                   drug market and all its concomitant crime and costs; unrealized
                   economic productivity; and broken families and homes;

             j.    Upon information and belief, these harms have taxed the human, medical,
                   public health, law enforcement, and financial resources of the County;
                   and

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                k.     Defendants’ interference with the comfortable enjoyment of life of a
                       substantial number of people is entirely unreasonable because there is
                       limited social utility to opioid use and any potential value is outweighed
                       by the gravity of harm inflicted by Defendants’ actions.

       152.     Defendants knew, or should have known, that promoting opioid use would create

a public nuisance in the following ways:

                a.     Upon information and belief, Defendants have engaged in massive
                       production, promotion, and distribution of opioids for use by the citizens
                       of the County;

                b.     Defendants’ actions created and expanded the market for opioids,
                       promoting its wide use for pain management;

                c.     Defendants misrepresented the benefits of opioids for chronic pain
                       and fraudulently concealed, misrepresented, and omitted the serious
                       adverse effects of opioids, including the addictive nature of the drugs;
                       and

                d.     Defendants knew or should have known that their promotion would
                       lead to addiction and other adverse consequences that the larger
                       community would suffer as a result.

       153.     Upon information and belief, Defendants’ actions were, at the least, a substantial

factor in doctors and patients not accurately assessing and weighing the risks and benefits of

opioids for chronic pain thereby causing opioids to become widely available and used in the

County.

       154.     Without Defendants’ actions, opioid use would not have become so widespread

and the enormous public health hazard of opioid addiction would not have existed and could

have been averted.

       155.     Upon information and belief, the health and safety of the citizens of the

County, including those who use, have used, or will use opioids, as well as those affected by

opioid users, is a matter of great public interest and legitimate concern to the County’s citizens



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and residents.

       156.       The public nuisance created, perpetuated, and maintained by Defendants can be

abated and further reoccurrence of such harm and inconvenience can be prevented.

       157.       Upon information and belief, Defendants’ conduct has affected and continues to

affect a considerable number of people within the County and is likely to continue to cause

significant harm to patients who take opioids, their families, and the community at large.

       158.       Each Defendant created or assisted in creating the opioid epidemic, and each

Defendant is jointly and severally liable for its abatement. Furthermore, each Defendant should

be enjoined from continuing to create, perpetuate, or maintain said public nuisance in the

County.

                                          COUNT II
                                    COMMON LAW FRAUD
                                     (ALL DEFENDANTS)

       159.       The County re-alleges and incorporates by reference each of the allegations

contained in the preceding paragraphs of this Complaint as though fully alleged herein.

       160.      At all relevant and material times, Defendants expressly and/or impliedly

warranted that opioids were safe, of merchantable quality, and fit for use.

       161.       Defendants’ superior knowledge and expertise, their relationship of trust and

confidence with doctors and the public, their specific knowledge regarding the risks and dangers

of opioids, and their intentional dissemination of promotional and marketing information about

opioids for the purpose of maximizing sales, each gave rise to the affirmative duty to

meaningfully disclose and provide all material information about the risks and harms associated

with opioids.

       162.       At all times herein mentioned, Defendants, individually and acting through their


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employees and agents, and in concert with each other, fraudulently represented to physicians

who Defendants knew would justifiably rely on Defendants’ representations that opioids were

safe and effective for treating chronic pain.

       163.      Upon information and belief, Defendants’ false representations were fraudulently

made, with the intent or purpose that healthcare providers and patients would justifiably rely

upon them, leading to the prescription, administration, filling, purchasing, and consumption of

opioids in the County.

       164.      Defendants’ deliberate misrepresentations and/or concealment, suppression, and

omission of material facts as alleged herein include, but are not limited to:

                 a.      Making false and misleading claims regarding the known risks of
                         the addictive nature of opioids and suppressing, failing to disclose, and
                         mischaracterizing the addictive nature of opioids and in concomitant
                         costs, such as overdoses, deaths, and heroin addiction;

                 b.      Making false and misleading written and oral statements that opioids
                         are more effective than traditional pain killers for chronic pain, or
                         effective at all and/or omitting material information showing that
                         opioids are no more effective than other non-addictive drugs for chronic
                         pain;

                 c.      Issuing false and misleading warnings and/or failing to issue adequate
                         warnings concerning the risks and dangers of using opioids;

                 d.      Making false and misleading claims downplaying the risk of addiction
                         when using opioids and/or setting forth guidelines that would
                         purportedly identify addictive behavior; and

                 e.      Making false and misleading misrepresentations concerning the safety,
                         efficacy and benefits of opioids without full and adequate disclosure
                         of the underlying facts which rendered such statements false and
                         misleading.

       165.    Defendants willfully, wantonly, and recklessly disregarded their duty to provide

truthful representations regarding the safety and risk of opioids.

       166.      Defendants made these misrepresentations with the intent that the healthcare

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community and patients located wherever these opioid drugs were sold or consumed would rely

upon them.

       167.    Defendants’ misrepresentations were made with the intent of defrauding and

deceiving the medical community and consumers to induce and encourage the sale of opioids.

       168.      Upon information and belief, Defendants’ fraudulent representations evidence

their callous, reckless, willful, and depraved indifference to the health, safety, and welfare of

consumers living in the County.

       169.      Defendants omitted, misrepresented, suppressed and concealed material facts

concerning the dangers and risk of injuries associated with the use of opioids, as well as the fact

that the product was unreasonably dangerous.

       170.      Upon information and belief, Defendants’ purpose was willfully blind to, ignored,

downplayed, avoided, and/or otherwise understated the serious nature of the risks associated with

the use of opioids.

       171.    Upon information and belief, the treating medical community and consumers in

the County did not know that Defendants’ representations were false and/or misleading and

justifiably relied on them.

       172.      Defendants had sole access to material facts concerning the dangers and

unreasonable risks of opioids, which they intentionally concealed.

       173.      Upon information and belief, as a direct and proximate result of Defendants’

fraudulent misrepresentations and intentional concealment of facts, upon which the medical

community and consumers in the County reasonably relied, the County suffered actual and

punitive damages.




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                                          COUNT III
                                         NEGLIGENCE
                                      (ALL DEFENDANTS)

       174.    The County re-alleges and incorporates by reference each of the allegations

contained in the preceding paragraphs of this Complaint as though fully alleged herein.

       175.      Manufacturing Defendants have a duty to exercise reasonable care in marketing

their opioids to physicians treating residents of the County and the County residents.

Manufacturing Defendants have breached their duty by knowingly and fraudulently

misrepresenting the benefits of, and downplaying the risks of, opioids for chronic pain.

       176.    Manufacturing Defendants have used deceitful marketing ploys, KOLs, Front

Groups, and other schemes to increase profits at the cost of public health causing an opioid

epidemic. Manufacturing Defendants have acted willfully, wantonly, and maliciously.

       177.      Likewise, Distributor Defendants have a duty to exercise ordinary care in

distributing opioids. Distributor Defendants have breached their duty by failing to prevent or

reduce the distribution of opioids, or to report the increase in the distribution and/or sale of

opioids.

       178.      Distributor Defendants have intentionally failed to prevent or reduce the

distribution of opioids, or to report any increases in the sale of opioids, so that they could increase

profits and receive rebates or kick-backs from Manufacturing Defendants. Distributor Defendants

have acted willfully, wantonly, and maliciously.

       179.      Upon information and belief, as a proximate result, Manufacturing and Distributor

Defendants and their agents have caused the County to incur excessive costs to treat the opioid

epidemic in its county, including but not limited to increased costs of social services, health

systems, law enforcement, judicial system, and treatment facilities.



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180.             The County and its residents are therefore entitled to actual and punitive

damages.



                                          COUNT IV
                                      GROSS NEGLIGENCE
                                      (ALL DEFENDANTS)

        181.     The County incorporates the allegations within all prior paragraphs within this

Complaint as if they were fully set forth herein.

        182.     Defendants’ marketing scheme to optimize profits by misrepresenting and falsely

touting opioids as the panacea to chronic pain was done intentionally.

        183.     Defendants’ hiring of KOLs, Front Groups, and others to spread their fraudulent

message that opioids were useful and beneficial for chronic pain was grossly negligent and done

with conscious indifference to the rights, safety, and welfare of others.

        184.     Each Defendant’s actions and omissions as described herein, singularly or in

combination with each other, involved an extreme degree of risk, considering the probability and

magnitude of the potential harm to others. Each Defendant’s actions and omissions described

herein was done with actual and subjective awareness of the risk involved, but nevertheless

demonstrated a conscious indifference to the rights, safety, and welfare of others.

        185.     Upon information and belief, at every stage, Defendants knew or should have

known that their conduct would create an unreasonable risk of physical harm to others, including

the County and its residents, and should be held liable in punitive and exemplary damages to the

County.




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                                           COUNT V
                                     UNJUST ENRICHMENT
                                      (ALL DEFENDANTS)

        186.      The County re-alleges and incorporates by reference each of the allegations

contained in the preceding paragraphs of this Complaint as though fully alleged herein.

        187.      Upon information and belief, as an expected and intended result of their

conscious wrongdoing as set forth in this Complaint, Defendants have profited and benefited

from opioid purchases made by the County and its residents.

        188.      Upon information and belief, when the County and its residents purchased

opioids, they expected that Defendants had provided necessary and accurate information

regarding those risks. Instead, Defendants had misrepresented the material facts regarding the risks and

benefits of opioids.

        189.      Upon information and belief, Defendants have been unjustly enriched at the

expense of the County, and the County is therefore entitled to damages to be determined by the

jury.



                                 COUNT VI
           VIOLATIONS OF THE RACKETEER INFLUENCED AND CORRUPT
                 ORGANIZATIONS ACT (“RICO”), 18 U.S.C. § 1961, et seq.
                             (ALL DEFENDANTS)

        190.      The County re-alleges and incorporates by reference each of the allegations

contained in the preceding paragraphs of this Complaint as though fully alleged herein.

        191.      This claim is brought by the County against each Defendant for actual damages,

treble damages, and equitable relief under and for violations of 18 U.S.C. § 1961, et seq.

        192.      Section 1962(c) makes it “unlawful for any person employed by or associated

with any enterprise engaged in, or the activities of which affect, interstate or foreign commerce,

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to conduct or participate, directly or indirectly, in the conduct of such enterprise’s affairs through

a pattern of racketeering activity . . .” 18 U.S.C. §1962(c).

       193.      Each Defendant conducted the affairs of an enterprise through a pattern of

racketeering activity, in violation of 18 U.S.C. §1962(c) and §1962(d).

       194.      Each Defendant herein participated in an Enterprise for purposes of 18 U.S.C. §

1961(3) that created and maintained systematic links for a common purpose: to sell and distribute

drugs, specifically opioids, that have little or no demonstrated efficacy for the pain they are

purported to treat in the majority of persons that obtain prescriptions for them.

       195.      To accomplish this purpose, the Enterprise engaged in a sophisticated, well-

developed, and fraudulent marketing scheme designed to increase the prescription rate for the

sale and distribution of Defendants’ opioids and popularize the misunderstanding that opioids are

effective for chronic pain and the risk of addiction is low (“the Scheme”).

       196.    At all relevant times, each Defendant was aware of the Enterprise’s conduct, was

a knowing and willing participant in that conduct, and reaped profits from that conduct in the

form of increased sales, distributions, and prescriptions of opioids.

       197.      In fact, Front Groups and KOLs received direct payments from Manufacturer

Defendants in exchange their role in the Enterprise, and to advance the Enterprise’s fraudulent

marketing scheme whereas Distributor Defendants received kick-backs from Manufacturing

Defendants if they reached particular monthly goals.

       198.      The Enterprise engaged in, and its activities affected, interstate and foreign

commerce because it involved commercial activities across state boundaries, including but not

limited to: (1) marketing, promotion, and advertisement of Defendants’ opioid medicines; (2)

advocacy at the state and federal level for change in the law governing the use, prescription, and



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distribution of Defendants’ opioids; (3) issuing prescriptions and prescription guidelines for

Defendants’ opioids; and (4) issuing fees, bills, and statements demanding payment for

prescriptions of Defendants’ opioids.

        199.     The persons engaged in the Enterprise are systematically linked through

contractual relationships, financial ties, and continuing coordination of activities, as spearheaded

by the Manufacturer Defendants.

        200.     The Enterprise functioned as a continuing unit for the purposes of executing the

Scheme and when issues arose during the Scheme, each member of the Enterprise agreed to take

actions to hide the Scheme and the existence of the Enterprise.

        201.     Each Defendant participated in the operation and management of the Enterprise

by directing its affairs as described herein.

        202.     While Defendants participated in, and are members of, the Enterprise, they have

an existence separate from the Enterprise, including distinct legal statuses, affairs, offices and

roles, officers, directors, employees, and individual personhood.

        203.    Defendants, singularly or in combination with another, orchestrated the affairs of

the Enterprise and exerted substantial control over the Enterprise by, at least: (1) making

misleading statements about the purported benefits, efficacy, and risks of opioids to doctors,

patients, the public, and others, in the form of telephonic and electronic communications, CME

programs, medical journals, advertisements, and websites; (2) employing sales representatives or

detailers to promote the use of opioid medications; (3) purchasing and utilizing sophisticated

marketing data (e.g., IMS data) to coordinate and refine the Scheme; (4) employing doctors to

serve as speakers at or attend all-expense paid trips to programs emphasizing the benefits of

prescribing opioid medications; (5) funding, controlling, and operating the Front Groups to target



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doctors, patients, and lawmakers and provide a veneer of legitimacy to the Manufacturer

Defendants’ Scheme; (6) retaining KOLs to promote the use of their opioid medicines and (7)

concealing the true nature of their relationship with the other members of the Enterprise, including

the Front Groups and the KOLs.

        204.     To carry out, or attempt to carry out, the scheme to defraud, the members of the

Enterprise, each of whom is a person associated-in-fact with the Enterprise, did knowingly

conduct or participate, directly or indirectly, in the affairs of the Enterprise through a pattern of

racketeering activity within the meaning of 18 U.S.C. §§1961(1), 1961(5) and 1962(c), and

employed the use of the mail and wire facilities, in violation of 18 U.S.C. §1341 (mail fraud) and

§1343 (wire fraud).

        205.      Specifically, the members of the Enterprise have committed, conspired to commit,

and/or aided and abetted in the commission of, at least two predicate acts of racketeering activity

(i.e., violations of 18 U.S.C. §§1341 and 1343), within the past ten years.

        206.      The Enterprise’s predicate acts of racketeering (18 U.S.C. §1961(1)) include, but

are not limited to:

               a. Mail Fraud: The members of the Enterprise violated 18 U.S.C. §1341 by sending
                  or receiving, or by causing to be sent and/or received, fraudulent materials
                  via
                  U.S. mail or commercial interstate carriers for the purpose of selling drugs,
                  specifically opioids, that have little or no demonstrated efficacy for the pain
                  they are purported to treat in the majority of persons prescribed them.

               b. Wire Fraud: The members of the Enterprise violated 18 U.S.C. §1343 by
                  transmitting and/or receiving, or by causing to be transmitted and/or received,
                  fraudulent materials by wire for the purpose of selling drugs, specifically
                  opioids, that have little or no demonstrated efficacy for the pain they are
                  purported to treat in the majority of persons prescribed them.

        207.     The mail and wire transmissions were made in furtherance of Defendants’ Scheme

and common course of conduct designed to sell drugs that have little or no demonstrated efficacy

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for chronic pain; increase the prescription rate for opioids; and popularize the misunderstanding

that the risk of addiction is low when using opioids.

        208.     The members of the Enterprise aided and abetted others in violating the law. To

achieve their common goals, the members of the Enterprise hid from the County and its

residents: (1) the fraudulent nature of Defendants’ marketing scheme; (2) the fraudulent nature of

statements made by Defendants and on behalf of Defendants regarding the efficacy of and risk of

addiction associated with Defendants’ opioids; and (3) the true nature of the relationship between

the members of the Enterprise.

        209.     Defendants and each member of the Enterprise, with knowledge and intent,

agreed to the overall objectives of the Scheme and participated in the common course of conduct.

Indeed, for the conspiracy to succeed, each of the members of the Enterprise and their co-

conspirators agreed to conceal their fraudulent scheme.

        210.    The members of the Enterprise knew, and intended that, the County and its

residents would rely on the material misrepresentations and omissions made by them and suffer

damages and a result.

        211.     The pattern of racketeering activity described herein is currently ongoing and

open-ended and threatens to continue indefinitely unless this Court enjoins the racketeering

activity.

        212.    As a result of Defendants’ racketeering activity, the County has been injured in

their business and/or property in multiple ways, including but not limited to increased health

care costs, increased human services costs, costs related to dealing with opioid related crimes and

emergencies, and other public safety costs.

        213.     Defendants’ violations of 18 U.S.C. §1962(c) and (d) have directly and



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proximately caused injuries and damages to the County and the public who are entitled to

bring this action for three times its actual damages, as well as injunctive/equitable relief, costs,

and reasonable attorney’s fees pursuant to 18 U.S.C. §1964(c).



                                      REQUESTED RELIEF

         WHEREFORE, Plaintiff respectfully prays:

                 a.      That the acts alleged herein be adjudged and decreed to be unlawful and
                         that the Court enter a judgment declaring them to be so;

                 b.      That Defendants be enjoined from, directly or indirectly through KOLs,
                         Front Groups or other third parties, continuing to misrepresent the risks
                         and benefits of the use of opioids for chronic pain, and from continuing
                         to violate Maryland law;

                 c.      That Plaintiff recover all measures of damages, including punitive and
                         exemplary damages, allowable under the law, and that judgment be
                         entered against Defendants in favor of Plaintiff;

                 d.      That Plaintiff recover restitution on behalf of the County consumers who
                         paid for opioids for chronic pain;

                 e.      That Plaintiff recover the costs and expenses of suit, pre- and post-
                         judgment interest, and reasonable attorneys’ fees as provided by law; and

                 f.      That Defendants be ordered to abate the public nuisance that they
                         created in in violation of Maryland common law.

                                REQUEST FOR JURY TRIAL
        The County respectfully requests that all issues presented by its above Complaint be tried by

a jury, with the exception of those issues that, by law, must be tried before the Court.




 Date: September 18, 2019




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                                   Respectfully submitted,


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